Case 2:06-cv-04795-CAS-JWJ Document 73 Filed 02/27/09 Pa

To: Hoss. visi Judge / 1 U.S. Magistrate Judge Suc Lv

CLERK, U.S. DISTRICT court

   

     

UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA FEB 2:7 009 |

NOTICE OF DOCUMENT DISCREPANCIES | CENTRAL DISTRICT OF CALIFORNIA
| By .

   

 

 

 

 

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Upon the submission of the attached document(s), it was noted that the following discrepancies exist:

O Local Rule 11-3.1!
OC Local Rule 11-3.8
© Local Rule 11-4.1
OU Local Rule 19-1
1) Local Rule 15-1
D Local Rule 11-6
0 Local Rule 11-8
© Local Rule 7.1-1
OC Local Rule 6.1
OC Local Rule 56-1
© Local Rule 56-2
OC Local Rule 7-19.1
CZ Local Rule 16-6
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Document not legible
Lacking riame, address, phone and facsimile numbers

No copy provided for judge

Complaint/Petition includes more than ten (10) Does or fictitiously named parties
Proposed amended pleading not under separate cover

Memorandum/brief exceeds 25 pages

Memorandum/brief exceeding 10 pages shall contain table of contents

No Certification of Interested Parties and/or no copies

Written notice of motion lacking or timeliness of notice incorrect

Statement of uncontroverted facts and/or proposed judgment lacking

Statement of genuine issues of material fact lacking

Notice to other parties of ex parte application lacking

Pretrial conference order not signed by all counsel

No proof AOR attached to document(s)

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Note: Please refer to the court’s Internet website at www.cacd.uscourts.gov for local rules and applicable forms.

 

ORDER OF THE JUDGE/MAGISTRATE JUDGE

IT IS HEREBY ORDERED:

x _The document is to be filed and processed. The filing date is ORDERED to be the date the document was stamped
"received but not filed" with the Clerk. Counsel* is advised that any further failure to comply with the Local Rules may
lead to penalties pursuant to Local Rule 83-7.

2/Xt] 04

Date

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USS. District Judge / U.S. Magistrate Judge

The document is NOT to be filed, but instead REJECTED, and is ORDERED returned to *counsel. *Counsel shail

immediately notify, in writing, all parties previously served with the attached documents that said documents have not
been filed with the Court.

 

Date

 

US. District Judge / U.S. Magistrate Judge

*The term "counsel" as used herein also includes any pro se party. See Local Rule 1-3.

 

CV-104A (12/03)

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